                Case 18-18709-LMI      Doc 68    Filed 03/05/19   Page 1 of 2



                                           UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                           CASE NO. 18-18709-BKC-LMI

                                           CHAPTER 13
IN RE:

NOAM YATIV,
     Debtor.                               EMERGENCY HEARING REQUESTED
_______________________/


     DEBTORS’ EMERGENCY MOTION TO APPROVE SALE OF HOMESTEAD
                                        PROPERTY
(Emergency as to the closing date is scheduled on or before April 1, 2019, and if the
Debtor is not in a position to close on that date, the purchaser will be withdrawing from
the contract)

         The Debtor, NOAM YATIV, moves this Honorable Court for an Order approving

the sale of the Debtor’s property, and states:

         1.     The Debtor is presently under the jurisdiction of the United States

Bankruptcy Court pursuant to a Chapter 13 bankruptcy filed on July 19, 2019.

         2.     The Debtor listed in his Schedules homestead property, which is claimed

as exempt, located at 21224 Northeast 19th Court, Miami, FL 33179, and is legally

described as:

         Lot 17, Block 6, OF THE SECOND ADDITION TO HIGHLANDS
         GARDENS, ACCORDING TO THE PLAT THEREOF, RECORDED IN
         PLAT BOOK 96, PAGE 20,OF THE PUBLIC RECORDS OF MIAMI
         DADE COUNTY FLORIDA.

         3.     The Debtor has entered into a Contract for the Sale and Purchase of the

homestead property, a copy of which is attached hereto.
                  Case 18-18709-LMI               Doc 68     Filed 03/05/19        Page 2 of 2



                                CERTIFICATION OF LOCAL RULE 9075-I

         4.       The emergency nature of this motion is that the closing date is on or

before April 1, 2019 , and if the Debtor is not in a position to close on that date, the

purchaser will be withdrawing from the contract.

                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this Court set forth in
Local Rule 2090-1(A) and that a true and correct copy of the foregoing was sent by e-mail to Nancy Neidich,
Trustee at e2c8f01@ch13herkert.com, Brian Rosaler, counsel for SPS at ecfbankruptcy@popkinrosaler.com
and those set forth in the NEF, this 5th day of March, 2019, and this Motion and an upcoming Notice of
Hearing will be served on a separate Certificate of Service to those set forth above and by regular mail to all
creditors.


                                    L AW O FFICES OF M ICHAEL J. B ROOKS , M ICHAEL A. F RANK
                                                     & R ODOLFO H. D E L A G UARDIA , J R .
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                                             By     /m/
                                                          Michael J. Brooks
                                                          Florida Bar No. 434442
